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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:19-CR-43
                                           :
               v.                          :   (Judge Conner)
                                           :
SAQUEENA WILLIAMS and                      :
NYREE LETTERLOUGH,                         :
                                           :
                     Defendants            :

                                      ORDER

      AND NOW, this 29th day of December, 2020, upon consideration of the

motions (Docs. 62, 63) to sever by defendants Saqueena Williams and Nyree

Letterlough, and the motion (Doc. 63) to suppress by Williams, and the parties’

respective briefs in support of and opposition to said motions, and for the reasons

set forth in the accompanying memorandum, it is hereby ORDERED that:

      1.       The motions (Doc. 62, 63) to sever are DENIED.

      2.       The motion (Doc. 63) to suppress is DENIED.



                                       /S/ CHRISTOPHER C. CONNER
                                       Christopher C. Conner
                                       United States District Judge
                                       Middle District of Pennsylvania
